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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

AMERICAN AXLE & MANUFACTURING,              )
INC.,                                       )
                                            )       C. A. No.: 15-1168-LPS-CJB
            Plaintiff,                      )
                                            )       JURY TRIAL DEMANDED
                         v.                 )
                                            )
NEAPCO HOLDINGS LLC and NEAPCO              )
DRIVELINES LLC,                             )
                                            )
            Defendants.                     )



               NEAPCO’S OPENING CLAIM CONSTRUCTION BRIEF



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       Defendants Neapco Holdings LLC and Neapco Drivelines LLC (collectively, “Neapco”)

submit this Opening Claim Construction Brief to address the appropriate construction of disputed

claim terms in U.S. Patent Nos. 7,774,911 (Ex. A, “ʼ911 patent”); 8,176,613 (Ex. B, “ʼ613

patent”); and 8,528,180 (Ex. C, “ʼ180 patent”) (collectively, “patents-in-suit”).

I.     OVERVIEW OF THE PATENTS-IN-SUIT

       The ‘911 patent was filed February 27, 2006, issued August 17, 2010, and is entitled

“Method for Attenuating Driveline Vibrations.” The ‘613 and ‘180 patents are continuations of
                                                                          1
the ’911 patent and, as such, they share a common specification.              The patents-in-suit are

generally directed towards methods for attenuating at least two different types of vibration in a

vehicle driveline having a propshaft (aka driveshaft) that transmits torque between a first and

second driveline component. (See ‘911 patent, at Abstract.)

       A.        Background of the Alleged Invention and the Prior Art

       Driveline components affect the noise level heard by consumers in their vehicle. As

described in the specification, “vehicle manufacturers and their suppliers are under constant

pressure to reduce noise to meet the increasingly stringent expectations of consumers.” (Ex. A;

‘911 patent, at col. 1:14-16.) “Driveline components and their integration into a vehicle typically

play a significant role in sound quality of a vehicle as they can provide the forcing function that

excites specific driveline, suspension and body resonances to produce noise.” (Id. at col. 1:17-

20.) “Common driveline excitation sources can include driveline imbalance and/or run-out,

fluctuations in engine torque, engine idle shake, and motion variation in the meshing gear teeth

of the hypoid gear set (i.e., the pinion gear and the ring gear of a differential assembly).” (Id. at

col. 1:23-27.)



1 All citations herein to the specification for the patents-in-suit will be to the ‘911 patent.


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       “Propeller (prop) shafts are typically employed to transmit rotary power in a driveline.”

(Id. at col. 1:38-39.) “Modern automotive propshafts are commonly formed of relatively thin-

walled steel or aluminum tubing and as such, can be receptive to various driveline excitation

sources.” (Id. at col. 1:39-41.) “Motion variation is the slight variation in angular displacement

between the input and output gears of a gear set.” (Id. at col. 1:28-29.) “This variation is

typically very small and can be on the order of tens of millionths of an inch (measured

tangentially at the pitch line of the gear) for a modern automotive differential assembly.” (Id. at

col. 1:29-33.)   Moreover, as the specification explains, motion variation changes with the

environment: “Motion variation is typically not constant (e.g., it will typically vary as a function

of load, temperature, gearset build position, and break-in wear) and moreover, it cannot be

reduced beyond certain levels without severe economic penalties.” (Id. at 1:33-37.)

       As described by the specification, the “various excitation sources can typically cause the

propshaft to vibrate in a bending (lateral) mode, a torsion mode and a shell mode.” (Id. at 1:42-

44.) The specification defines each of these three types of vibration modes. “Bending mode

vibration is a phenomenon wherein energy is transmitted longitudinally along the shaft and

causes the shaft to bend at one or more locations.” (Id. at 1:44-47.) Fig. 5 describes a propshaft

20’ vibrating in a second bending mode:




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(See also id. col. 6:13-29.) The bending mode natural frequency “is a function of not only the

propshaft assembly 20’, but also of the ‘boundary conditions’ (i.e., the manner in which the

propshaft assembly 20’ is coupled to the driveline 16’).” (Id. at col. 6:20-25.)

        “Torsion mode vibration is a phenomenon wherein energy is transmitted tangentially

through the shaft and causes the shaft to twist.” (Id. at 1:47-49.) Fig. 7 describes a propshaft 20’

vibrating in a torsion mode:




(See also id. col. 6:33-40.) The natural torsion frequency “is a function of not only the propshaft

assembly 20’, but also of the first and second driveline components (e.g., the transmission 18 and

the rear axle 22) to which the propshaft assembly is coupled.” (Id. at col. 6:35-40.)

        “Shell mode vibration is a phenomenon wherein a standing wave is transmitted

circumferentially about the shaft and causes the cross-section of the shaft to deflect or bend

along one or more axes.” (Id. at 1:49-52.) Fig. 6 depicts a propshaft 20’ vibrating in a shell

mode:




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(See also id. col. 6:30-32.)

       As acknowledged by the inventors, several techniques have been employed in the prior

art to attenuate these vibrations in propshafts. (Id. at 1:53-54.) However, according to the

inventors, the prior art only provided for attenuating one type of vibration at a time.

       For example, the patents-in-suit describe U.S. Patent No. 2,001,166 to Swennes, filed in

1933, as using plugs or weights to attenuate vibrations in a propshaft that act as a “resistive

means to attenuate bending mode vibrations.” (Id. at 1:55-59.) As defined in the specification,

“resistive attenuation of vibration refers to a vibration attenuation means that deforms as

vibration energy is transmitted through it (i.e., the vibration attenuation means) so that the

vibration attenuation means absorbs (and thereby attenuates) the vibration energy.” (Id. at col.

1:60-65.)     The ‘166 patent describes frictionally attaching the plugs or weights at

“experimentally-derived locations” to attenuate the bending mode vibrations. (Id.) But, because

“the plugs tend to be relatively short, they typically would not effectively attenuate shell mode

vibration or torsion mode vibration.” (Id. at 2:2-4.) The specification, however, does not

describe what it means “effectively attenuate” the vibrations. (Id.)



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       Similarly, the specification describes another prior art solution to dampen bending mode

vibration using a “damper that is inserted into a hollow shaft” as disclosed in U.S. Patent No.

3,075,406 to Butler Jr., filed in 1961. (Id. at 2:5-6.) The ‘406 patent “damper includes a pair of

resilient members, which frictionally engage the interior surface of the hollow shaft, and a metal

bar that is suspended within the interior of the hollow shaft by the resilient members.” (Id. at

2:6-10.) The ‘406 patent explains how at the “resonant frequency of the propeller shaft, ‘the

motion of the mass is out of phase with the radial motion of the tubular propeller shaft.’” (Id. at

2:10-13.)   As such, the specification describes the ‘406 patent as a “reactive damper for

attenuating bending mode vibration.” (Id. at 2:13-15.) As defined in the specification, “reactive

attenuation of vibration refers to a mechanism that can oscillate in opposition to the vibration

energy to thereby ‘cancel out’ a portion of the vibration energy.” (Id. at col. 2:15-18.) But, the

specification describes the damper of the ‘406 patent as “ineffective at attenuating torsion ode

vibration and shell mode vibration due to its relatively short length and its contact with a

relatively small portion of the interior surface of the propshaft.” (Id. at col. 2:18-22.) Again, the

specification does not describe what it means to be “ineffective.” (Id.)

       Finally, the specification describes existing prior art liners for a propshaft that attenuate

shell mode vibrations:

       U.S. Pat. No. 2,751,765 to Rowland et al., U.S. Pat. No. 4,014,184 to Stark and U.S. Pat.
       Nos. 4,909,361 and 5,976,021 to Stark et al. disclose hollow liners for a propshaft. The
       '765 and '184 patents appear to disclose hollow multi-ply cardboard liners that are press-
       fit to the propshaft; the cardboard liners are relatively long and appear to extend
       substantially coextensively with the hollow shaft. The '361 and '021 patents appear to
       disclose liners having a hollow cardboard core and a helical retaining strip that extends a
       relatively short distance (e.g., 0.03 inch) from the outside diameter of the core. The
       retaining strip has high frictional properties to frictionally engage the propshaft.
       Accordingly, the liners of the '765, '184, '361 and '021 patents appear to disclose a
       resistive means for attenuating shell mode vibration. These liners, however, do not
       appear to be suitable for attenuating bending mode vibration or torsion mode vibration.
       (Id. at col. 2:23-38.)



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Without explanation, the inventors state that the prior art liners “do not appear to be suitable for

attenuating bending mode vibration or torsion mode vibration.” (Id. at col. 2:36-38.)

       Because the prior art dampers and liners allegedly do not attenuate both shell mode

vibrations and bending or torsion mode vibrations, according the inventors, “there remains a

need in the art for an improved method for damping various types of vibrations in a hollow

shaft.” (‘911 patent, at col. 2:39-41.)

       B.      The Alleged Invention of the Patents-In-Suit.

       According to the specification, the alleged invention “facilitates the damping of shell

mode vibration as well as the damping of bending mode vibration and/or torsion mode

vibration.” (‘911 patent, at col. 2:41-43.)

       Figure 4 depicts a top, partially cut away view of a typical propshaft assembly:




       As the propshaft is explained, “[t]he shaft structure 200 can be generally cylindrical,

having a hollow central cavity 220 and a longitudinal axis 222. The shaft structure 200 can be

formed of any suitable material.” (Id. at col. 6:1-2.) The “propshaft assembly 20 of the

particular example provided includes two liners 204 that are identically configured.” (Id. at col.

6:41-43.) However, “other quantities of liners 204 may be utilized and that the liners 204 need

not be identically configured (i.e., each insert 204 can have different damping characteristics and




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a first one of the liners 204 can be different from a second one of the liners 204).” (Id. at col.

6:44-48.)

       As for the design of the liners, the specification incorporates by reference the design of

the liners disclosed in the prior art ‘361 patent issued to the Arrow Paper Company in 1990. (Id.

at col. 6:49-53):




(Ex. D, ‘361 patent, Fig. 1.) As the patents-in-suit incorporate the design of the prior art ‘361

patent, the liner design of one embodiment in the patents-in-suit is similar to the ‘361 patent:




(‘911 patent, Fig. 8.)

       According to the specification, “the liner 204 can include a structural portion 300 and one

or more resilient members 302 that are coupled to the structural portion 300. The liners 204 are

sized such that the structural portion 300 is smaller than the inner diameter of the shaft member

200 but the resilient member(s) 302 is/are sized to frictionally engage the inner diameter of the

shaft member 200.” (Id. at col. 6:53-59.)




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       The liners are then tuned to the driveline: “the mass and the stiffness of the liner(s) 204

are tuned to the driveline 16 such that the liner(s) 204 acts or act as (a) a tuned resistive absorber

for attenuating shell mode vibrations; and (b) as one or more of (i) a tuned reactive absorber for

attenuating bending mode vibrations, and (ii) a tuned reactive absorber for attenuating torsion

mode vibrations.” (Id. at col. 7:32-39.) As to shell mode vibrations, “[p]referably, the liner(s)

204 is/are tuned to a natural frequency corresponding to at least one of a first shell mode, a

second shell mode and a third shell mode.” (Id. at col. 7:44-46.) As to bending mode vibrations,

“[w]here the liner(s) 204 is/are employed to attenuate bending mode vibrations, they are

preferably tuned to a natural frequency corresponding to at least one of a first bending mode, a

second bending mode and a third bending mode of the propshaft assembly 20 as installed to the

driveline 16.” (Id. at col. 7:46-50.) As to torsion mode vibrations, “[w]here the liner(s) 204

is/are employed to attenuate torsion mode vibrations, they are preferably tuned to a natural

frequency of the driveline 16 in a torsion mode, such as to a frequency that is less than or equal

to about 600 Hz.” (Id. at col. 7:50-55.)

       As the specification explains, it may not be possible to exactly tune the liner to the two

relevant frequencies (i.e., one for each of the vibration modes being targeted), therefore the liner

is tuned within a tolerance of a target frequency:

       It will be appreciated that in certain situations it may not be possible to exactly tune the
       liner 204 to the two or more relevant frequencies associated with a given propshaft
       assembly 20, as when a particular liner 204 is used across a family of propshaft
       assemblies. As such, it will be understood that a liner 204 will be considered to be
       tuned to a relevant frequency if it is effective in attenuating vibration at the relevant
       frequency. For example, the liner 204 can be considered to be tuned to a relevant
       frequency if a frequency at which it achieves maximum attenuation is within ±20% of
       that relevant frequency. Preferably, the liner 204 is considered to be tuned to the relevant
       frequency if the frequency at which it achieves maximum attenuation is within ±15% of
       the relevant frequency. More preferably, the liner 204 is considered to be tuned to the
       relevant frequency if the frequency at which it achieves maximum attenuation is within
       ±10% of the relevant frequency. Still more preferably, the liner 204 is considered to be



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        tuned to the relevant frequency if the frequency at which it achieves maximum
        attenuation is within ±5% of the relevant frequency.

        As another example, the liner 204 can be considered to be tuned to a relevant shell mode
        frequency if it damps shell mode vibrations by an amount that is greater than or equal to
        about 2%.

(Id. at col. 8:24-47 (emphasis added).)

        The specification describes several example methods to tune the liner:

        It will also be appreciated from this disclosure that various characteristics of the liner 204
        can be controlled to tune its damping properties in the shell mode and in one or both of
        the bending mode and the torsion mode. In the particular example provided, the
        following variables were controlled: mass, length and outer diameter of the liner 204,
        diameter and wall thickness of the structural portion 300, material of which the structural
        portion 300 was fabricated, the quantity of the resilient members 302, the material of
        which the resilient members 302 was fabricated, the helix angle 330 and pitch 332 with
        which the resilient members 302 are fixed to the structural portion 300, the configuration
        of the lip member(s) 322 of the resilient member 302, and the location of the liners 204
        within the shaft member 200.

(Id. at col. 7:55-8:2.)

        C.      The Asserted Claims of the Patents-In-Suit.

        The asserted claims of the patents-in-suit relate to a method for manufacturing a shaft

assembly of a driveline system. (See ‘911 patent, claim 1.) Plaintiff asserts five independent

claims and 28 total claims between the patents-in-suit.2 Claim 1 of the ‘911 patent is illustrative:

        A method for manufacturing a shaft assembly of a driveline system, the driveline system
        further including a first driveline component and a second driveline component, the shaft
        assembly being adapted to transmit torque between the first driveline component and the
        second driveline component, the method comprising:

        providing a hollow shaft member;

        tuning at least one liner to attenuate at least two types of vibration transmitted through the
        shaft member; and

        positioning the at least one liner within the shaft member such that the at least one liner is
        configured to damp shell mode vibrations in the shaft member by an amount that is
        greater than or equal to about 2%, and


2 The Asserted Claims are claims 1-6, 12, 13, 19-24, 26, 27, 31, and 34-36 of the ‘911 patent;
claims 17-21, 23, 24, and 28 of the ‘613 patent, and claims 13 and 14 of the ‘180 patent.


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       the at least one liner is also configured to damp bending mode vibrations in the shaft
       member, the at least one liner being tuned to within about ±20% of a bending mode
       natural frequency of the shaft assembly as installed in the driveline system.

II.    LEGAL STANDARDS

       The basic tenets of claim construction are well established. “The words of a claim ‘are

generally given their ordinary and customary meaning.’” Phillips v. AWH Corp., 415 F.3d

1303, 1312-13 (Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration

Systems, Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). “[T]he ordinary and customary meaning

of a claim term is the meaning that the term would have to a person of ordinary skill in the art in

question at the time of the invention . . . .” Id. at 1313. “Importantly, the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.” Id.; see Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed.

Cir. 2004) (holding that claim construction should take into account “the meaning of the claims

as a whole . . . .”). “‘Ultimately, the interpretation to be given a term can only be determined

and confirmed with a full understanding of what the inventors actually invented and intended to

envelop with the claim.’” Phillips, 415 F.3d at 1316 (quoting Renishaw PLC v. Marposs

Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998)). “‘The construction that stays true

to the claim language and most naturally aligns with the patent’s description of the invention

will be, in the end, the correct construction.’” Id.

       When considering the plain and ordinary meaning of a claim term, the Federal Circuit

explained the importance of the intrinsic evidence: “We cannot look at the ordinary meaning of

the term . . . in a vacuum. Rather, we must look at the ordinary meaning in the context of the

written description and the prosecution history.”      Phillips, 415 F.3d at 1313 (citation and

quotation omitted).    The specification “is always highly relevant to the claim construction



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tuned to attenuate a         adjusted to target              Providing a liner having
plurality of types of        frequencies to dampen a         characteristics controlled, such that
vibration transmitted        plurality of types of           the liner is effective in reducing
through the shaft member     vibration transmitted           vibration of a shaft member at a
                             through the shaft member        relevant frequency, to reduce a
(ʼ613 patent at claim 17)                                    plurality of types of vibration
                                                             transmitted through the shaft
                                                             member

(3) tuning a mass and        adjusting a mass and        Plain and ordinary meaning:
stiffness of at least one    stiffness of at least one   Controlling a mass and stiffness of
liner                        liner to target a frequency at least one liner such that the at
                                                         least one liner is effective in
(ʼ911 patent at claims 22,                               reducing vibration of a shaft
36)                                                      member at a relevant frequency

(4) liner having a mass      liner having a mass and a       Plain and ordinary meaning: liner
and a stiffness that are     stiffness that are adjusted     having a mass and stiffness
tuned to the driveline       to target a frequency of        controlled such that the liner is
system                       the driveline system            effective in reducing vibration of a
                                                             shaft member at a relevant
(ʼ180 patent at claim 13)                                    frequency of the driveline system

(5) tuned resistive          absorber that is adjusted       Plain and ordinary meaning: a liner
absorber for attenuating     to target a frequency and       whose characteristics are
shell mode vibrations        that deforms as vibration       controlled such that the liner is
                             energy is transmitted           effective in reducing shell mode
(ʼ911 patent at claims 22,   through it to absorb the        vibration of a shaft member at a
36)                          vibration energy to             relevant frequency by deforming as
(ʼ180 patent at claim 13)    dampen shell mode               vibration energy from the shaft
                             vibrations                      member is transmitted through the
                                                             liner so that the liner absorbs the
                                                             vibration energy

(6) tuned reactive           absorber that is adjusted       Plain and ordinary meaning: a liner
absorber for attenuating     to target a frequency and       whose characteristics are
bending mode vibrations      that oscillates in opposition   controlled such that the liner is
                             to vibration energy to          effective in reducing bending mode
(ʼ911 patent at claims 22)   cancel out a portion of the     vibration of a shaft member at a
                             vibration energy to dampen      relevant frequency by oscillating in
                             bending mode vibrations
                                                             opposition to vibration energy of
                                                             the shaft member to cancel out a
                                                             portion of the vibration energy

(7) tuned reactive           absorber that is adjusted       Plain and ordinary meaning: a liner
absorber for attenuating     to target a frequency and       whose characteristics are


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at least one of bending      that oscillates in          controlled such that the liner is
mode vibrations and          opposition to vibration     effective in reducing at least one of
torsion mode vibrations      energy to cancel out a      a bending mode vibration and
                             portion of the vibration    torsion mode vibration of a shaft
(ʼ911 patent at claims 36)   energy to dampen at least   member at a relevant frequency by
(ʼ180 patent at claim 13)    one of bending mode         oscillating in opposition to
                             vibrations or torsion       vibration energy of the shaft
                             mode vibrations             member to cancel out a portion of
                                                         the vibration energy

       The disputes between the parties regarding the above seven terms are primarily the same.

In essence, the disputes are whether “tuning” and “tuned” in the context of the asserted claims

refers to “adjusting . . . to target a frequency” (Defendants) or “controlling characteristics . . .

such that the liner is effective in reducing vibration of a shaft member at a relevant frequency”

(Plaintiff). Defendants’ proposed construction for each disputed term is supported by the plain

meaning of the terms and the intrinsic evidence and should therefore be adopted.

       Defendants’ proposed constructions are consistent with the plain meaning of the terms

“tuning” and “tuned.” The patents-in-suit do not define or ascribe any special meaning to the

terms “tuning” and “tuned” that deviates from the ordinary usage of those words. The relevant

definitions in Webster’s Dictionary defines the word as “—v.t. 13. to adjust (a musical

instrument) to a correct or given standard of pitch (often fol. by up). 14. to adapt (the voice,

song, etc.) to a particular tone . . . 15. to bring (someone or something) into harmony. 16. to

adjust (a motor, mechanism, or the like) for proper functioning. 17. Radio and Television. a. to

adjust (a circuit, frequency, or the like) so as to bring it into resonance with another circuit, a

given frequency, or the like.” (Ex. E, Webster’s New Universal Unabridged Dictionary, 2nd Ed.

(2003), at 2035.) Thus, the plain meaning of the terms “tuning” and “tuned” requires adjusting,

adapting, or bringing into harmony to a tone, a proper functioning, or resonance with a given




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frequency. (Id.)4 Defendants’ proposed constructions incorporate those concepts, which are

consistent with the use of the terms in the specification.

       The specification describes how the liners are “tuned to a natural frequency”:

       Preferably, the liner(s) 204 is/are tuned to a natural frequency corresponding to at least
       one of a first shell mode, a second shell mode and a third shell mode. Where the liner(s)
       204 is/are employed to attenuate bending mode vibrations, they are preferably tuned to
       a natural frequency corresponding to at least one of a first bending mode, a second
       bending mode and a third bending mode of the propshaft assembly 20 as installed to the
       driveline 16. Where the liner(s) 204 is/are employed to attenuate torsion mode
       vibrations, they are preferably tuned to a natural frequency of the driveline 16 in a
       torsion mode, such as to a frequency that is less than or equal to about 600 Hz.

(‘911 patent, at col. 7:44-55 (emphasis added).) As the specification explains, it may not be

possible to “exactly tune” the liner to the target frequency: “It will be appreciated that in certain

situations it may not be possible to exactly tune the liner 204 to the two or more relevant

frequencies associated with a given propshaft assembly 20, as when a particular liner 204 is

used across a family of propshaft assemblies.” (Id. at col. 8:24-29 (emphasis added).) “As such,

it will be understood that a liner 204 will be considered to be tuned to a relevant frequency if

it is effective in attenuating vibration at the relevant frequency.”           (Id. at col. 8:29-31

(emphasis added).) The specification explains that to be “effective” the liner is tuned to a target

frequency within a specific tolerance:

       For example, the liner 204 can be considered to be tuned to a relevant frequency if a
       frequency at which it achieves maximum attenuation is within ±20% of that
       relevant frequency. Preferably, the liner 204 is considered to be tuned to the relevant
       frequency if the frequency at which it achieves maximum attenuation is within ±15% of
       the relevant frequency. More preferably, the liner 204 is considered to be tuned to the
       relevant frequency if the frequency at which it achieves maximum attenuation is within
       ±10% of the relevant frequency. Still more preferably, the liner 204 is considered to be
       tuned to the relevant frequency if the frequency at which it achieves maximum
       attenuation is within ±5% of the relevant frequency. As another example, the liner 204
       can be considered to be tuned to a relevant shell mode frequency if it damps shell mode
       vibrations by an amount that is greater than or equal to about 2%.


4 While stating that its proposal is “plain and ordinary meaning”—Plaintiff’s proposed
construction is not consistent with the ordinary usage of the terms “tuning” and “tuned.”


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       Each of the above claim phrases suffer from the same problem—they “fail to inform,

with reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus,

Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2123 (2014). It is not enough to simply identify

“some standard for measuring the scope of the phrase.” Interval Licensing, 766 F.3d at 1370–71

(Fed. Cir. 2014) (emphasis in original). Rather, the claims must identify objective boundaries to

a skilled artisan. Id. at 1371.5 As explained by the Federal Circuit, “a patent must be precise

enough to afford clear notice of what is claimed, thereby appris[ing] the public of what is still

open to them.” Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1341 (Fed. Cir. 2015)

(citing Nautilus, 766 F.3d at 2129.)

       Here, the above limitations provide for a step in the method of manufacturing whereby

calculations are made as to whether the liner dampens, or attenuates, vibrations by a certain

amount. In the claims, the shell mode terms require positioning the liner within the shaft

member to damp shell mode vibrations by an amount that is greater than or equal to about 2%.

Similarly, the bending / torsion mode terms require positioning the liner within the shaft member

to damp bending or torsion mode vibrations by an amount that is greater than or equal to about

20%, or 15%, or 10%, or 5% of a natural frequency of the driveline system in a bending or

torsion mode. But, as explained in the Declaration of Dr. Nejat Olgac, one skilled in the art

could not determine with reasonable certainty whether any system practiced the steps in these

claims because one would obtain a different damping result depending on the testing and

calculation methods used. (Olgac Decl., at ¶¶ 16-26.)

       The issue presented here is similar to that in Teva. In that case, the Federal Circuit held

that the claims were indefinite where the “molecular weight or average molecular weight can be


5 Whileindefiniteness is an issue of law, the inquiry often involves underlying factual questions,
which “may turn on evaluations of expert testimony.” Nautilus, 134 S. Ct. at 2130.


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ascertained by any of three possible measures” that would “yield a different result for a given

polymer sample.” 789 F.3d at 1341-44. Because neither the claims nor specification provided

any guidance which measure to use, they “failed to inform with reasonable certainty those skilled

in the art about the scope of the invention.” Id. See also Nautilus, 134 S. Ct. at 2123, Interval

Licensing, 766 F.3d at 1371. The same is true here. One engineer could prepare a set of test

conditions and measurement protocols and determine that a system meets the claimed damping

amounts.   (Olgac Decl., at ¶ 18.)     Another engineer could prepare a different set of test

conditions and measurement protocols and determine that the same driveshaft / liner sample does

not meet the claimed damping amounts. (Id.) Neither the claims nor specification provides any

guidance to determine whether a system practices these claim elements. (Id.) Whether a system

meets these claim elements is left to the subjective choice of the engineer in preparing test

conditions and methodologies. (Id.)

       For example, as explained by Dr. Olgac, it is unclear from which baseline vibration state

the damping amount (2%, 20%, etc.) is measured. (Id. at ¶ 19.) For example, the baseline

vibration could be generated using the drive shaft without any liner. (Id.) Alternately, the

baseline could be generated using a drive shaft with a different liner, such as a non-“tuned” liner

described in the prior art. (Id.) Furthermore, there is no indication for the 2% shell mode

damping claim elements whether the measurement is taken in the shaft member installed on a

vehicle or it is assembled on a test stand. (Id. at ¶ 22.) Depending on the baseline state, testing

results as to damping amounts would vary. (Id. at ¶¶ 19, 22.)

       Another uncertainty relates to whether the damping amount is measured using static or

dynamic testing of the response of the liner. (Id. at ¶ 20.) For example, a static test could

include using an impact hammer on the liner as mounted in a shaft and measuring the decay

times and frequencies of the corresponding oscillations and their amplitudes. (Id.) Alternatively,


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one could continually excite the liner and/or the shaft with a “dynamic” energy source, such as a

dynamic shaker or exciter, and vary the frequency of input energy to determine which input

frequency produces the maximum radial vibration response from the liner. (Id.) With that

approach, as Dr. Olgac explains, an engineer would need to know how many shakers to use,

where to place the shakers, the amount of energy used, and the type of signal to use (e.g., pink

noise, white noise, periodic random, swept sine, chirp, wideband, bandlimited, etc.). These

options would result in different damping amounts.           (Id.)   The specification provides no

guidance.6

       Moreover, there are many conditions under which you could perform the testing for each

of the above limitations that could change the test results as to whether something is within 2%,

20%, 15%, etc., as claimed. (Id. at ¶ 24.) Because the liner is attached to the driveshaft by

friction (‘911 patent, at column 6, lines 55-59), the liner (and its damping qualities) would act

very differently for different bonding conditions. (Id.) For example, the test results would vary

dramatically depending on the ambient temperature (which can change between -40 and 150 °C.)

(Id.) The claimed liners would be subject to variations in fit and performance due to many

conditions besides temperature, such as rotational accelerations, speed, applied and varying

torque and loading conditions (e.g., 2WD, 4WD, engine size), and humidity. (Id.) Also, the

boundary conditions, which have to do with the way in which the system components are bonded

to each other, also affect the damping calculations. (Id. at ¶ 22.) Boundary conditions vary for

testing or targeting frequencies and measuring modes (shell, bending, torsional) and/or damping.

(Id.) Each such measurement scheme would result in different findings due to the varying

boundary conditions and governing dynamics, which determine the “natural frequencies” and the


6 Moreover,   it is unclear under which excitation frequency range the test is performed. (Id. at ¶
21.)


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various vibration “modes.” (Id.) Depending on the test conditions, one would expect very

different test results. (Id.) The specification does not provide details on which particular

conditions to use for the testing. (Id. ¶¶ 22, 24.)

       Finally, nothing in the claims or the specification provides any guidance on how to

calculate the damping amount for any of these claim terms. (Id. at ¶ 23.) According to Dr.

Olgac, the damping calculations will vary depending on which protocol is adopted. (Id.) As he

explains, there are many valid ways to calculate damping, such as using “damping ratio,” “loss

factor,” “damping factor,” “quality factor,” or “percent critical damping.” (Id.) Moreover, there

is no indication as to whether the calculation is a one-time measurement, a mean measurement, a

minimum or maximum measurement, or an average of a certain number of calculations. (Id.)

Each are valid ways to perform the calculation. (Id.) But neither the claims nor the specification

provides any guidance as to how to perform this calculation. (Id.)

       As such, one skilled in the art would be unable to ascertain with reasonable certainty the

scope of the invention as to these claim limitations. (Id. at ¶ 26.) The claims are therefore

invalid as indefinite.   See Nautilus, 134 S. Ct. at 2123; Teva, 789 F.3d at 1344; Interval

Licensing, 766 F.3d at 1371.

V.     CONCLUSION

       For the foregoing reasons, Defendants’ proposed constructions for the disputed terms

should be adopted by the Court. The remainder of the terms are indefinite; therefore any

asserted claim including those terms is also invalid as indefinite.




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